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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CITY OF SUNRISE GENERAL
EMPLOYEES’ RETIREMENT PLAN,                    Civ. A. No. 1:17-cv-02207-LMM
on behalf of itself and all others similarly
situated,                                      CLASS ACTION

                   Plaintiff,

             v.

FLEETCOR TECHNOLOGIES, INC.,
RONALD F. CLARKE, and ERIC R. DEY,

                   Defendants.

   MEMORANDUM OF LAW IN SUPPORT OF LEAD PLAINTIFF’S
   MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT
        AND APPROVAL OF NOTICE TO THE CLASS
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      Lead Plaintiff City of Sunrise General Employees’ Retirement Plan (“Sunrise

General” or “Lead Plaintiff”), on behalf of itself and the other members of the

certified Class,1 respectfully submits this memorandum of law in support of its

unopposed motion for preliminary approval of the proposed settlement (the

“Motion”) reached in the above-captioned litigation (the “Settlement”).2

I.    PRELIMINARY STATEMENT

      Lead Plaintiff has reached an agreement to settle this Action in exchange for

a cash payment of $50,000,000 for the benefit of the Class. If approved, the

Settlement will resolve this Action in its entirety and will bring to a close more than

two years of hard-fought litigation, which included substantial motion practice,

certification of a litigation class, significant discovery, and extensive arm’s-length


1
 “Class” means the class certified in the Court’s July 17, 2019 Order (ECF No. 93).
Specifically, the Class includes all persons who purchased or otherwise acquired
publicly traded FleetCor common stock during the Class Period, and who were
damaged thereby. Excluded from the Class are (i) Defendants; (ii) any current or
former Officers or directors of FleetCor; (iii) the Immediate Family Members of any
Defendant or any current or former Officer or director of FleetCor; and (iv) any
entity that any Defendant owns or controls, or owned or controlled during the Class
Period. Also excluded from the Class are any persons and entities who or which
exclude themselves by submitting a request for exclusion that is accepted by the
Court.
2
 All capitalized terms used in this Memorandum that are not otherwise defined shall
have the meanings given to them in the Stipulation and Agreement of Settlement,
dated November 6, 2019 (the “Stipulation”), which is attached as Exhibit 2 to the
Motion.
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negotiations between counsel, including a full-day mediation session. By its Motion,

Lead Plaintiff seeks entry of an Order: (i) granting preliminary approval of the

Settlement; (ii) approving the form and manner of providing notice of the Settlement

to the Class; and (iii) scheduling a hearing date for final approval of the Settlement

(the “Settlement Hearing”) and related events (the “Preliminary Approval Order”).

      Lead Plaintiff believes that the proposed Settlement, which is the result of

robust arm’s-length negotiations between counsel overseen by a well-respected

mediator, represents a very favorable result for the Class because it provides a

significant recovery, particularly when compared to the risks that continued

litigation might result in a smaller recovery, or no recovery at all. While Lead

Plaintiff and Lead Counsel believe the claims asserted against Defendants have

merit, Lead Plaintiff would have faced substantial challenges in establishing liability

and damages and recovering on any substantial judgment. For example, Lead

Plaintiff faced substantial challenges in proving that Defendants’ statements about

FleetCor’s organic revenue growth were false and misleading when made, as well

as showing that FleetCor’s predatory fee practices (versus any non-predatory fees)

generated a material amount of the Company’s organic revenue growth. Lead

Plaintiff would have also faced significant challenges in proving that Defendants




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made the alleged false statements with the requisite scienter and in establishing loss

causation.

      Prior to entering into the Stipulation, Lead Plaintiff and Lead Counsel:

(i) investigated and prepared two complaints, including the initial complaint filed

and the operative Amended Class Action Complaint (the “Complaint”); (ii) defeated

in part Defendants’ motion to dismiss the Complaint; (iii) engaged in significant fact

and expert discovery, which included obtaining and reviewing more than 314,000

pages of documents by Defendants and third parties; (iv) successfully moved for

class certification; and (v) engaged in extensive settlement negotiations, which

included participation in a full-day mediation session, under the auspices of an

experienced and highly respected mediator, Jed. D. Melnick. Accordingly, Lead

Plaintiff and Lead Counsel had a well-developed understanding of the strengths and

weaknesses of the claims in the Action at the time of the Settlement, which informed

Lead Plaintiff’s determination that the Settlement is fair, reasonable, and adequate.

      At the Settlement Hearing, the Court will have before it more extensive papers

in support of the Settlement, and it will be asked to determine whether the Settlement

is fair, reasonable, and adequate. At present, Lead Plaintiff requests only that the

Court grant preliminary approval of the Settlement so that notice may be provided

to the Class. Specifically, Lead Plaintiff requests that this Court enter the Parties’


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agreed-upon proposed Preliminary Approval Order (attached as Exhibit A to the

Stipulation and submitted herewith), which will, among other things: (i) grant

preliminary approval of the Settlement; (ii) approve the form and manner of

providing notice of the Settlement to the Class, including the form and content of

the Settlement Notice, Claim Form, and Summary Settlement Notice; and

(iii) schedule the Settlement Hearing and related events.

      As discussed below, the Settlement is fair, reasonable, and adequate, and thus

warrants the Court’s preliminary approval.

II.   HISTORY OF THE LITIGATION

      This securities fraud class action was commenced when Sunrise General filed

an initial complaint on June 14, 2017. ECF No. 1. In an Order dated August 25,

2017, the Court appointed Sunrise General as Lead Plaintiff pursuant to the Private

Securities Litigation Reform Act of 1995 (the “PSLRA”) and approved its selection

of Bernstein Litowitz Berger & Grossmann LLP (“BLB&G”) as Lead Counsel. ECF

No. 25.

      On October 13, 2017, Lead Plaintiff filed the Complaint. ECF No. 27. The

Complaint asserts claims against all Defendants under Section 10(b) of the Securities

Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 thereunder, and against

the Executive Defendants under Section 20(a) of the Exchange Act. The Complaint


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alleges, among other things, that Defendants made materially false and misleading

statements during the Class Period regarding FleetCor’s revenue growth. The

Complaint further alleged that the price of FleetCor’s common stock was artificially

inflated as a result of Defendants’ allegedly false and misleading statements, and

that the price declined when the truth was revealed.

      On November 27, 2017, Defendants moved to dismiss the Complaint. ECF

No. 30. Lead Plaintiff opposed the motion, and after full briefing and oral argument,

the Court issued an order denying in part and granting in part Defendants’ motion to

dismiss the Complaint on May 15, 2018. ECF No. 40. Specifically, the Court

sustained Lead Plaintiff’s claims regarding Defendants’ allegedly false and

misleading statements regarding FleetCor’s revenue growth. On June 8, 2018,

Defendants moved the Court to reconsider the scienter portion of the Court’s May

15, 2018 motion to dismiss Order. ECF No. 42. On August 21, 2018, after full

briefing and oral argument, the Court denied Defendants’ motion for

reconsideration. ECF No. 49.

      The Parties commenced fact discovery in October 2018, and prepared and

served initial disclosures on October 10, 2018. Lead Plaintiff prepared and served

requests for production of documents for Defendants and served document

subpoenas on 10 third parties. In response, Defendants and third parties produced


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over 314,000 pages of documents to Lead Plaintiff. Lead Plaintiff produced over

1,300 pages of documents to Defendants in response to their requests. In connection

with Lead Plaintiff’s motion for class certification, Defendants deposed a

representative of Lead Plaintiff, as well as Lead Plaintiff’s market-efficiency expert,

Chad Coffman. The Parties also served and responded to interrogatories and

exchanged numerous letters, including disputes between the Parties and with

nonparties, concerning discovery issues.

      On January 4, 2019, Lead Plaintiff filed its motion for class certification,

which was accompanied by a report from Mr. Coffman. ECF No. 68. On April 4,

2019, Defendants opposed Lead Plaintiff’s class-certification motion. ECF Nos. 79-

80. On May 6, 2019, Lead Plaintiff filed a reply in further support of its motion for

class certification. ECF Nos. 85-86. On July 17, 2019, the Court issued an Order

granting the class-certification motion, certifying the Class as defined in Lead

Plaintiff’s motion, appointing City of Sunrise General Employees’ Retirement Plan

as the Class Representative, and appointing BLB&G as Class Counsel for the

certified Class. ECF No. 93.

      While discovery was significantly under way, the Parties discussed the

possibility of resolving the Action through settlement and agreed to mediation before

Jed D. Melnick, Esq. of JAMS. On July 30, 2019, the Parties filed a joint request to


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stay the deadlines set forth in the Court’s Scheduling Order until the conclusion of

the Parties’ scheduled mediation. The Court granted the joint consent motion on

August 6, 2019. On August 30, 2019, the Parties exchanged detailed mediation

statements, with numerous exhibits, addressing liability and damages issues, and

exchanged reply papers in further support of their mediation statements on

September 9, 2019. On September 16, 2019, the Parties participated in a full-day

in-person mediation session with Mr. Melnick and engaged in vigorous settlement

negotiations with the assistance of Mr. Melnick but were not able to reach an

agreement. The Parties continued their settlement negotiations after the mediation

under the auspices of Mr. Melnick, and, on September 27, 2019, the Parties reached

an agreement in principle to settle the Action. Thereafter, the Parties worked

diligently to negotiate the full settlement terms, which are set forth in the Stipulation.

III.   THE TERMS OF THE SETTLEMENT

       The proposed Settlement, which would resolve the Action in its entirety,

provides that Defendants will pay or cause to be paid $50,000,000 in cash into an

escrow account for the benefit of the Class. The full terms and conditions of the

Settlement are set forth in the Stipulation, which is attached to the Motion as

Exhibit 2. In addition, the Parties have entered into a confidential Supplemental

Agreement that sets forth the conditions under which Defendants may terminate the


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Settlement if the number of persons or entities who request exclusion from Class

reaches a certain threshold. This agreement, often called a “blow provision,” is a

standard feature of securities class action settlements. The terms of such agreements

are generally maintained as confidential in order to prevent potential opt-outs from

threatening to trigger the blow provision and leveraging that threat to obtain

additional payment from the settling parties.3

IV.   ARGUMENT

      A.     THE PROPOSED SETTLEMENT WARRANTS
             PRELIMINARY APPROVAL

      Courts have long recognized a strong policy and presumption in favor of class

action settlements. See In re HealthSouth Corp. Sec. Litig., 572 F.3d 854, 862 (11th

Cir. 2009) (“Public policy strongly favors the pretrial settlement of class action

lawsuits.”) (quoting In re U.S. Oil & Gas Litig., 967 F.2d 489, 493 (11th Cir. 1992)).

Moreover, this policy consideration applies especially to securities fraud class

actions. See, e.g., Mashburn v. Nat’l Healthcare, Inc., 684 F. Supp. 660, 667 (M.D.

Ala. 1988) (“securities fraud class actions readily lend themselves to settlement”).

A district court’s review of a proposed class action settlement is a two-step process.



3
  If the Court would like to review the Supplemental Agreement, Lead Plaintiff
requests that the Parties be permitted to submit it to the Court under seal for in
camera review. See Stipulation ¶ 38.

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First, the Court performs a preliminary review of the terms of the proposed

settlement to determine whether to send notice of the proposed settlement to the

class. See Fed. R. Civ. P. 23(e)(1). Second, after notice has been provided and a

hearing has been held, the Court determines whether to approve the settlement on a

finding that it is “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2).

      A court should grant preliminary approval to authorize notice to the class upon

a finding that it “will likely be able” to finally approve the settlement under Rule

23(e)(2). See Fed. R. Civ. P. 23(e)(1)(B); see also Cook v. Palmer, Reifler &

Assocs., 2019 WL 3383634, at *3 (M.D. Fla. May 17, 2019) (“Notice of the proposed

settlement must be provided to all class members who would be bound by the

proposal if it is shown that the court will likely be able to [ ] approve the proposal as

fair, reasonable, and adequate…”) (internal quotation marks and citations omitted).

      This standard for preliminary approval of class action settlements was newly

established by amendments to Rule 23(e) that became effective on December 1,

2018. Prior to those amendments, Courts had developed a standard for preliminary

approval through case law that was substantively similar to the current standard but

phrased differently.    A common formulation was that the court should grant

preliminary approval to a proposed settlement “if it is within range of possible

approval or, in other words, [if] there is probable cause to notify the class of the


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proposed settlement.” See, e.g., Agnone v. Camden Cnty., Ga., 2019 WL 1368634,

at *9 (S.D. Ga. Mar. 26, 2019) (citing Horton v. Merrill, Lynch, Pierce, Fenner &

Smith, Inc., 855 F. Supp. 825, 827 (E.D.N.C. 1994)). Thus, “[p]reliminary approval

is appropriate where the proposed settlement is the result of the parties’ good faith

negotiations, there are no obvious deficiencies and the settlement falls within the

range of reason.” Smith v. Wm. Wrigley Jr. Co., 2010 WL 2401149, at *2 (S.D. Fla.

June 15, 2010) (citation omitted).

      As shown below, preliminary approval should be granted because the

proposed Settlement is the result of robust arm’s-length negotiations, has no obvious

deficiencies and the Court will be able to approve the Settlement as fair, reasonable,

and adequate at final approval.

             1.    The Settlement Is The Result Of Good Faith, Arm’s-
                   Length Negotiations By Well-Informed And Experienced
                   Counsel

      Courts presume that a proposed settlement is fair and reasonable when it is

the result of arm’s-length negotiations between counsel. See Gunthert v. Bankers

Standard Ins. Co., 2019 WL 1103408, at *3 (M.D. Ga. Mar. 8, 2019) (“‘There is a

presumption of good faith in the negotiation process …. [and] [w]here the parties

have negotiated at arm’s length, the Court should find that the settlement is not the

product of collusion’”) (citation omitted); see also Almanzar v. Select Portfolio


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Servicing, Inc., 2015 WL 10857401, at *1 (S.D. Fla. Oct. 15, 2015) (“Settlement

negotiations that involve arm’s length, informed bargaining with the aid of

experienced counsel support a preliminary finding of fairness.”).

      In assessing whether to approve a proposed class action settlement, courts

give considerable weight to the opinion of well-informed and experienced counsel.

See Lunsford v. Woodforest Nat’l Bank, 2014 WL 12740375, at *9 (N.D. Ga. May

19, 2014) (“The Court should give ‘great weight to the recommendations of counsel

for the parties, given their considerable experience in this type of litigation.’”); In re

Domestic Air Transp. Antitrust Litig., 148 F.R.D. 297, 312-13 (N.D. Ga. 1993) (“In

determining whether to approve a proposed settlement, the Court is entitled to rely

upon the judgment of the parties’ experienced counsel. ‘[T]he trial judge, absent

fraud, collusion, or the like, should be hesitant to substitute its own judgment for that

of counsel’”).

      Here, the Settlement was achieved only after more than two years of hard-

fought litigation, including the resolution of Defendant’s motion to dismiss and Lead

Plaintiff’s motion for class certification, conducting significant discovery, and

robust arm’s-length negotiations by well-informed and experienced counsel,

including the active participation of the Court-appointed Lead Plaintiff and with the

assistance of an experienced mediator. These facts strongly support the conclusion


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that the Settlement is fair. See Agnone v. Camden Cnty., Ga., 2018 WL 4937061, at

*5 (S.D. Ga. Oct. 10, 2018) (“Settlement negotiations that involve arm’s length,

informed bargaining with the aid of experienced counsel support a preliminary

finding of fairness”); see also In re Checking Account Overdraft Litig., 275 F.R.D.

654, 662 (S.D. Fla. 2011) (approving settlement that was “the product of informed,

good-faith, arm’s length negotiations between the parties and their capable and

experienced counsel, and [which] was reached with the assistance of a well-qualified

and experienced mediator”).

      As part of the mediation session, Lead Counsel and Defendants’ counsel

prepared and presented submissions addressing, among other things, their respective

views regarding the merits of the litigation, including liability and damages issues.

In addition, prior to reaching the agreement to settle the Action, Lead Plaintiff had

conducted an extensive investigation; prepared a detailed Complaint; briefed, argued

and defeated in part Defendants’ motion to dismiss the Complaint; obtained class

certification; obtained and reviewed more than 314,000 pages of documents from

Defendants and third parties; and worked with experts on market efficiency and

damages. As a result, Lead Plaintiff and Lead Counsel were well-informed and had

an adequate basis for assessing the strengths of the Class’s claims and Defendants’

defenses when they entered into the Settlement.


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      Moreover, in determining the good faith of this settlement proposal, the Court

should consider the judgment of Lead Counsel. See Perez v. Asurion Corp., 501 F.

Supp. 2d 1360, 1384 (S.D. Fla. 2007) (“[a] district court properly considers the

judgment of experienced counsel when asked to approve a class action settlement.”).

Lead Counsel, BLB&G, is one of the nation’s leading class action litigation firms.

Accordingly, its judgment that this Settlement is in the best interests of the Class

should be given considerable weight.

      In sum, the fact that the Settlement is the product of arm’s-length settlement

negotiations conducted with the assistance of an experienced mediator, has been

approved by the Court-appointed Lead Plaintiff, and was entered into by informed

and experienced counsel, demonstrates the procedural fairness of the process by

which the Settlement was reached.

             2.    The Substantial Benefits For The Class,
                   Weighted Against Litigation Risks, Support
                   Preliminary Approval of the Settlement

      The Settlement provides for a cash payment of $50 million for the benefit of

the Class. The Settlement is an excellent result for Class Members, especially in

light of the significant risks of continued litigation. See Carpenters Health &

Welfare Fund v. Coca-Cola Co., 2008 WL 11336122, at *9 (N.D. Ga. Oct. 20, 2008)

(“Courts have repeatedly noted that [s]tockholder litigation is notably difficult and


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notoriously uncertain.”) (quotation marks and citations omitted); see also Gutter v.

E.I. Dupont De Nemours & Co., 2003 U.S. Dist. LEXIS 27238, at *5 (S.D. Fla. May

30, 2003) (“[T]he risks associated with proceeding to trial in . . . complex securities

litigation, particularly the risks associated with establishing materiality, causation

and damages favor approval of the [s]ettlement.”).

      Although Lead Plaintiff and Lead Counsel believe that the claims asserted

against Defendants have merit, they recognize the expense and length of litigation

through trial and appeals, as well as the very substantial risks they would face in

establishing liability and damages.

      First, Lead Plaintiff faced significant risks that, at either the summary-

judgment stage or after a trial, that it would not be to establish one of required

elements of falsity, materiality, scienter, and/or loss causation to sustain its securities

fraud claims. Lead Plaintiff would have faced substantial challenges in proving that

Defendants’ statements about FleetCor’s organic revenue growth were false and

misleading when made.         For example, Defendants would have continued to

vigorously argue that their statements about FleetCor’s organic revenue growth were

accurate and that they had no duty to disclose the source of revenue growth or the

unsustainability of their alleged predatory fee practices. Moreover, Defendants

would have challenged Lead Plaintiff on the issue of materiality and argued that


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Lead Plaintiff could not prove that FleetCor’s predatory fee practices (versus any

non-predatory fees) generated a material amount of FleetCor’s organic revenue

growth. Second, Lead Plaintiff would have also faced challenges in proving that

Defendants made the alleged false statements with the intent to mislead investors or

were reckless in making the statements. For example, Defendants would contend

that the Executive Defendants were not aware of the alleged predatory fee practices

and that, even if they were, they thought those practices were lawful and consistent

with the terms governing FleetCor’s relationship with its customers.

      Even if Lead Plaintiff established liability, it would have faced significant

hurdles in proving loss causation—that the alleged misstatements were the cause of

investors’ losses—and in proving damages. For example, Defendants would likely

argue that the alleged corrective disclosures on April 4, 2017 and April 27, 2017, in

the form of reports discussing FleetCor’s fee practices, could not have caused the

decline in FleetCor’s stock price because they did not disclose anything new to the

market that had not already been previously disclosed in a report issued on March 1,

2017. Additionally, Defendants would have argued that Lead Plaintiff would not be

able to disentangle the effect of any information unrelated to the alleged fraud which

the market learned around the same time as the alleged corrective disclosures. If




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Defendants prevailed on their loss-causation arguments, recoverable damages would

have declined significantly or been eliminated.

      On all of these issues, Lead Plaintiff would have to prevail at several stages—

on a motion for summary judgment and at trial, and if it prevailed on those, on the

appeals that would likely follow—which could take years. See, e.g., Robbins v.

Koger Props. Inc., 116 F.3d 1441 (11th Cir. 1997), reh’g en banc denied, 129 F.3d

617 (11th Cir. 1997) (finding no loss causation and overturning $81 million jury

verdict); In re BankAtlantic Bancorp, Inc. Sec. Litig., 2011 WL 1585605, at *1 (S.D.

Fla. Apr. 25, 2011) (overturning jury verdict in favor of plaintiff class and granting

judgment as a matter of law in favor of defendants). The Settlement avoids these

risks and will provide a prompt and certain benefit to the Class rather than the mere

possibility of a recovery after additional years of litigation and appeals.

      The Settlement balances the risks, costs, and delay inherent in complex cases

evenly with respect to all Parties. Thus, the benefits created by the Settlement weigh

heavily in favor of granting the motion for preliminary approval. Lead Plaintiff

respectfully submits that, considering the risks of continued litigation and the time

and expense which would be incurred to prosecute the Action through a trial, the

$50 million Settlement represents a meaningful recovery that is in the best interests

of the Class.


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          The Settlement is also reasonable when considered in relation to the range of

potential recoveries that might be recovered if Lead Plaintiff prevailed at trial, which

was far from certain for the reasons noted above. The maximum potential damages

that could be realistically established at trial ranged from $114.8 million to $584.8

million, depending on the outcome of loss causation and damages arguments.

Accordingly, the $50 million Settlement represents from 8.5% to 44% of the realistic

maximum recoverable damages for the Class. This is an extremely positive result

for Class Members given the risks of the litigation.

          Accordingly, for all the foregoing reasons, Lead Plaintiff respectfully requests

that the Court take the first step in the approval process and grant preliminary

approval.

          B.    THE PROPOSED FORM AND METHOD OF NOTICE
                ARE APPROPRIATE AND SHOULD BE APPROVED

          Lead Plaintiff also requests that the Court approve the form and content of the

proposed Notice and Summary Notice, attached as Exhibits 1 and 3 to the

Preliminary Approval Order, as well as the method for providing notice. As outlined

in the agreed-upon proposed Preliminary Approval Order, Lead Counsel will cause

the Claims Administrator to notify Class Members of the Settlement by mailing the

Notice and Claim Form to all Class Members who can be identified with reasonable

effort.

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      Rule 23(c)(2)(B) requires a certified class to receive “the best notice that is

practicable under the circumstances, including individual notice to all members who

can be identified through reasonable effort.” Similarly, Rule 23(e)(1)(B) requires a

court to “direct notice in a reasonable manner to all class members who would be

bound by the proposal.” The proposed notice plan set forth above readily meets

these standards and is typical of notice plans in similar actions.

      The proposed Notice describes the proposed Settlement, and sets forth, among

other things: the nature of the Action; the definition of the certified Class; the claims

and issues in the Action; what has occurred in the case to the present time; the claims

that will be released; and the proposed Plan of Allocation for the proceeds of the

Settlement. The Notice also advises that a Class Member may enter an appearance

through counsel if desired; describes the effect of the Settlement on Class Members;

states the procedures and deadlines for Class Members to request exclusion from the

Class or object to the proposed Settlement, the proposed Plan of Allocation, and/or

the requested attorneys’ fees and expenses; states the procedures and deadline for

submitting a Claim Form to recover from the Settlement; and provides the date, time,

and location of the final Settlement Hearing. The proposed Preliminary Approval

Order also requires Lead Counsel to cause the Summary Notice to be published once

in The Wall Street Journal and to be transmitted over the PR Newswire. Lead


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Counsel will also cause a copy of the Notice and Claim Form to be readily available

on the Settlement website created specifically for this Action.

      The Notice also satisfies the PSLRA’s separate disclosure requirements by,

inter alia, stating: (i) the amount of the Settlement determined in the aggregate and

on an average per share basis; (ii) that the Parties do not agree on the average amount

of damages per share that would be recoverable in the event that Lead Plaintiff

prevailed, and stating the issues on which the Parties disagree; (iii) the name,

telephone number, and address of Lead Counsel who will be available to answer

questions concerning any matter contained in the Notice; (iv) the reasons why the

Parties are proposing the Settlement; and (v) that Lead Counsel intends to make an

application for an award of attorneys’ fees and expenses (including the amount of

such fees and expenses determined on an average per share basis). See 15 U.S.C.

§ 78u-4(a)(7).

      With respect to the application for attorneys’ fees and expenses, the case has

been prosecuted on a contingency basis since 2017 and Lead Counsel has not

received any payment of fees or expenses. Lead Counsel will apply to the Court for

an award of attorneys’ fees in an amount not to exceed 25% of the Settlement Fund.

With respect to litigation expenses, Lead Counsel will apply for payment of

Litigation Expenses incurred in connection with the institution, prosecution, and


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resolution of the claims against the Defendants, in an amount not to exceed

$450,000, which may include an application for the reasonable costs and expenses

incurred by Lead Plaintiff directly related to its representation of the Class. The full

details and basis for the fee and expense request will be detailed in Lead Counsel’s

motion which will be filed 35 days before the Settlement Hearing.

      In accordance with the terms of the Preliminary Approval Order to be entered

by the Court, Lead Counsel shall cause the Claims Administrator to mail the Notice

and Claim Form to those members of the Class as may be identified through

reasonable effort. For the purposes of identifying and providing notice to the Class,

within ten (10) business days of the date of entry of the Preliminary Approval Order,

FleetCor shall provide or cause to be provided to the Claims Administrator in

electronic format a list of the holders of FleetCor common stock during the Class

Period The Claims Administrator will mail copies of the Notice and Claim Form

(the “Notice Packet”) to these identified shareholders. The Claims Administrator

will also mail copies of the Notice Packet to brokers, banks, and other custodians

and instruct them to either request from the Claims Administrator sufficient copies

of the Notice Packet to forward to all beneficial owners for whom they purchased or

otherwise acquired FleetCor common stock during the Class Period or provide a list

of the names, mailing addresses, and, if available, email addresses, of such beneficial


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owners to the Claims Administrator, in which event the Claims Administrator shall

promptly mail or email the Notice Packet to the beneficial owners.

      The form and manner of providing notice to the Class satisfy the requirements

of due process, Rule 23, and the PSLRA, 15 U.S.C. § 78u-4(a)(7). The Notice and

Summary Notice “concisely and clearly state, in plain, easily understood language,

the nature of the action; the definition of the class certified; the class claims, issues,

and defenses; that a class member may enter an appearance through counsel if the

member so desires; and the binding effect of a class judgment on class members.”

Fresco v. Auto Data Direct, Inc., 2007 WL 2330895, at *8 (S.D. Fla. May 14, 2007).

The proposed notice plan set forth above, which includes individual notice by mail

to all Class Members who can be reasonably identified, represents the best notice

practicable under the circumstances and satisfies the requirements of due process

and Rule 23. See Aranaz v. Catalyst Pharm. Partners Inc., 2014 WL 11870214, at

*2-*3 (S.D. Fla. Dec. 3, 2014) (notice distributed by first class mail to all class

members “who can be identified with reasonable effort . . . constitute[s] the best

notice practicable under the circumstances; and constitute[s] due and sufficient

notice to all persons and entities entitled thereto”).




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      C.    THE COURT SHOULD ADOPT THE PROPOSED
            SCHEDULE

      If the Court grants preliminary approval of the Settlement, Lead Plaintiff

respectfully proposes the schedule set forth below for Settlement-related events.

                 Event                               Proposed Deadline
Deadline for mailing the Notice and        No later than 20 business days after
Claim Form to potential Class              entry of the Preliminary Approval
Members (which date shall be the           Order
“Notice Date”) (Preliminary Approval
Order ¶ 4(b))
Deadline for publishing the Summary        No later than 10 business days after the
Notice (Preliminary Approval Order         Notice Date
¶ 4(d))
Deadline for filing of papers in support 35 calendar days before the date set for
of final approval of the Settlement, Plan the Settlement Hearing
of Allocation, and Lead Counsel’s
motion for attorneys’ fees and expenses
(Preliminary Approval Order ¶ 24)
Deadline for receipt of objections or  21 calendar days before the date set for
requests for exclusion from the Class  the Settlement Hearing
(Preliminary Approval Order ¶¶ 11, 15)




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Deadline for filing reply papers in       7 calendar days prior to the Settlement
support of final approval of the          Hearing
Settlement, Plan of Allocation, and
Lead Counsel’s motion for attorneys’
fees and expenses (Preliminary
Approval Order ¶ 24)
Settlement Hearing (Preliminary           A date to be selected by the Court, 110
Approval Order ¶ 2)                       calendar days after entry of the
                                          Preliminary Approval Order, or at the
                                          Court’s earliest convenience thereafter
Postmark deadline for Submitting          120 calendar days after the Notice Date
Claim Forms (Preliminary Approval
Order ¶ 8)

      If the Court agrees with the proposed schedule, Lead Plaintiff requests that

Court schedule the Settlement Hearing 110 calendar days after entry of the

Preliminary Approval Order, or at the Court’s earliest convenience thereafter.

V.    CONCLUSION

      Based on the foregoing, Lead Plaintiff respectfully requests that the Court

enter the Parties’ agreed-upon proposed Preliminary Approval Order, attached to the

Motion as Exhibit 3, which will provide for: (i) preliminary approval of the

Settlement; (ii) approval of the form and manner of giving notice of the Settlement

to the Class; and (iii) a hearing date and time to consider final approval of the

Settlement and related matters.




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Dated: November 7, 2019      Respectfully submitted,

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                        RULE 7.1(D) CERTIFICATION

      The undersigned counsel certifies that this document has been prepared with

14 point Times New Roman, one of the font and point selections approved by the

Court in Local Rule 5.1(C).

                                             /s/ Katherine M. Sinderson
                                               Katherine M. Sinderson




                         CERTIFICATE OF SERVICE

      I hereby certify that on November 7, 2019, I caused a true and correct copy of

the foregoing to be filed with the Clerk of Court using the CM/ECF system, which

will automatically send notification of such filing and make available the same to all

attorneys of record.

                                            /s/ Katherine M. Sinderson
                                               Katherine M. Sinderson
